131 F.3d 152
    97 CJ C.A.R. 3010
    NOTICE:  Although citation of unpublished opinions remains unfavored, unpublished opinions may now be cited if the opinion has persuasive value on a material issue, and a copy is attached to the citing document or, if cited in oral argument, copies are furnished to the Court and all parties.  See General Order of November 29, 1993, suspending 10th Cir. Rule 36.3 until December 31, 1995, or further order.
    Usman Shehu SULE, Plaintiff-Appellant,v.UNITED STATES of America, Defendant-Appellee.
    No. 97-1209.
    United States Court of Appeals, Tenth Circuit.
    Nov. 25, 1997.
    
      Before BALDOCK, McKAY, and LUCERO, Circuit Judges.
    
    
      1
      ORDER AND JUDGMENT*
    
    
      2
      After examining the briefs and the appellate record, this panel has determined unanimously that oral argument would not materially assist the determination of this appeal.  See Fed.  R.App. P. 34(a);  10th Cir.  R. 34.1.9.  The case is therefore ordered submitted without oral argument.
    
    
      3
      Plaintiff, an inmate incarcerated at the United States Penitentiary-Administrative Maximum (ADX) in Florence, Colorado, filed a complaint pursuant to the Federal Tort Claims Act (FTCA), 28 U.S.C. §§ 1346(b) and 2671-2680, for the negligence of the United States in maintaining an overcrowded prison at the Federal Correctional Institution in Sheridan, Oregon.
    
    
      4
      We affirm the determination of the magistrate judge as accepted by the district court in its Order of Dismissal filed May 20, 1997, that the claim here is properly barred by res judicata.  Because the district court correctly determined that Plaintiff's claim is barred by res judicata, we need not address the discretionary function issue.
    
    
      5
      AFFIRMED.
    
    
      
        *
         This order and judgment is not binding precedent, except under the doctrines of law of the case, res judicata, and collateral estoppel.  The court generally disfavors the citation of orders and judgments;  nevertheless, an order and judgment may be cited under the terms and conditions of 10th Cir.  R. 36.3
      
    
    